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Sonoma County
Corrections Master Plan

Chapter Four
Jail Capacity Forecasts
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Jail Capacity Forecasts
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Forecasting future jail population sizes is, or should be, a policy-based
task. The changes that have occurred in United States jail populations during
the last twenty-five years provide considerable evidence that shifts in local
policies can bring about dramatic increases or decreases in jail populations
within a county. Few planners who did jail population forecasts during the
1970s or 1980s were able to foresee the nation-wide policy-shift trends that
would lead to dramatic growth in jail populations in the 1980s and 1990s. They
were unable to foresee, for example, the greater focus on persons convicted of
drunk driving. In the 1990s, the offenses that impacted most jails in the United
States were domestic violence and all of the narcotics and drug-related crime.

Because of this failure of foresight, even those counties that built new jails
during the latter half of the 1980s found that space that was supposed to be
sufficient until the year 2000 was filled by the early 1990s. In many cases, the
decision-makers responsible for the policy shifts at issue had been on hand
when the forecasting studies were done; they were no more able than the
forecasters to predict where policy emphases would fall during the coming
decade.

Too much jail forecasting work done in recent years has assumed that
criminal justice system policies in a county will remain the same over the
forecast period. In reality, this is rarely the case. When forecasters make their
predictions based on the assumption that county decision-makers will make no
changes in criminal justice system policy, they doom their predictions to

failure. No county criminal justice system today can afford not to anticipate

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change. For better or for worse, all county systems will have to change, with
increasing frequency, in the years to come. The question is not whether but how
a particular set of policies can be expected to change. Jail forecasters must
learn to take the likelihood of such changes into account and try to foresee the
various possibilities. As the drunk-driving and domestic violence examples
illustrate, forecasters cannot do this without the close cooperation of county
decision-makers. Ultimately, the decision-makers are the ones who must
decide where the emphasis will fall in the years to come.

Jail capacity forecasts must depend in large part on information made
available to forecasters by a county. The forecasts contained in this report are
no exception. Much historical information exists on the way the Sonoma
County Jail has been used during the past 20 years. Jail admissions, average
length of stay, and average daily population figures are available from 1988 to
the present.

Attempts to obtain reliable, consistent older data, however, proved
impossible — the records simply do not exist or are not reliable. An estimate of
the forecast of county population was received from the Association of Bay
Area Governments to the year 2035.

As useful as these numbers may be in constructing a picture of what is to
come, they will not aid the county unless a consensus regarding criminal
justice system policy for the next twenty-five years is reached. The text, tables,
and graphs that follow illustrate several possible population scenarios,
scenarios that suggest what the county might expect in terms of Jail bed
demand given several possible policy scenarios. No one-policy scenario is the
“right” scenario. It will be up to the county decision-makers to select the view
of the future that best represents what they believe to be the most likely

direction of county decision-makers, and then plan for jail space on that basis.

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The 2007 data in the following graphics is annualized based upon the first

6 months.

A. Admissions

The first graphic presents the total admissions per year for the years 1988

to 2007.

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In 1988, the Sonoma County Jail admitted a total of 19,937 persons. The
number of admissions increased until 1990 and then dropped dramatically to
16,455 in 1992. The drop coincided with the establishment of booking fees paid
to the Sheriff for every booking. Admissions remained flat until 2003 when
they began climbing. In 2007, it is expected there will be 20,006 bookings,

which is within a few persons of the number of admissions in 1988.

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B. Average Length of Stay

The next graphic shows the average length of stay for 1988 to 2007.

Average Length of Stay

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The average length of stay, with one exception rose steadily to 1999
where it has dropped almost every year since. The average length of stay in
1988 was 12.7 days and in 2007 is 20 days, making for a 57 percent increase

over the period.

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C. Average Daily Population
The next graphic presents the historic average daily populations

(ADP) for the Sonoma County Jail over the period 1988 to 2007.

Average Daily Population

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The average daily population was 693 in 1988. The average daily
population increased steadily for 10 years before virtually flattening for the last
10 years. In 2007, the average daily population through June has been 1,096,

making for a 58 percent increase over the period.

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D. County Population: Actual and Forecasted — 1988-2035
1. County Population: Actual — 1988-2007

The next graphic shows the actual county population for each year

between 1988 and 2007.
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In 1988, 360,870 persons resided in the county. Since then, the population
has risen steadily and it is estimated that 481,765 persons live in the county in

2007, a 34 percent increase over the period.

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2. County Population: Forecasted — 2010-2035

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The next graphic shows the forecasted county population from 2010

to 2035 as provided by the Association of Bay Area Governments.

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2010 2015 2020 2025 2030 2035
Year

The county population in 2010 is expected to be 509,100. Population is

expected to grow to 568,900 persons by 2035, a 12 percent increase.

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